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                                        Exhibit A




25956042.2
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       HAWKEY TRANSPORTATION INC.                                                                         November 08, 2023
       PO Box 732
       Beaverton, OR 97075                                                                           Client ID 27028-001 TWS




                                 Statement for period through November 08, 2023

LEGAL SERVICES REGARDING: Yellow Corporation, Chapter 11 Bankruptcy


Fees                                                                                         T.K.        Hours       Amount
       10/26/23 Review notice of potential assumption of lease and correspondence            GSE          0.20        $68.00
                with Mike Hawkey concerning same
       10/27/23 Begin drafting objection to notice of potential assumption, including        GSE          2.30       $782.00
                research on attorneys fees in cure costs (2.0); Draft declaration
                in support of objection (.3)


       10/30/23 Continue drafting objection to notice of cure amounts                        GSE          0.30       $102.00

                 Review lease and respond to Mike Hawkey's inquiry regarding debtor's        GSE          0.20        $68.00
                 occupation of non-leased property
       10/31/23 Final review of objection to notice of proposed cure amounts and             GSE          0.20        $68.00
                supporting declaration and correspondence with Tom Stilley regarding
                same
       11/02/23 Correspondence with Mike Hawkey concerning motion for relief from            GSE          0.10        $34.00
                stay, objection to cure amounts and administrative claims
                 Further revise objection to notice of cure amounts (1.0); Draft             GSE          1.40       $476.00
                 declaration of Garrett Eggen in support of cure amounts (.3);
                 Correspondence with Joe Barsalona III and Mike Hawkey regarding
                 objection to notice of cure amounts and supporting declarations needed
                 (.1)
       11/07/23 Review declaration and exhibits and for attorney Garrett S. Eggen            MPR          0.30        $78.00

       11/08/23 Call with Sandi Hawkey regarding objection to notice of assumption (.1);     GSE          0.30       $102.00
                Revise Mike Hawkey declaration to include updated information (.2)
                 Revise objection to notice of assumption and cure to incorporate            GSE          0.20        $68.00
                 updated invoice figures

                                                      Timekeeper Recap
                 T.K.      Name                                             Hours          Rate        Amount
                 GSE       EGGEN, GARRETT S.                                  5.40      $340.00       $1,768.00
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    HAWKEY TRANSPORTATION INC.                                                         November 08, 2023
    PO Box 732
    Beaverton, OR 97075                                                           Client ID 27028-001 TWS




                                           Timekeeper Recap
             T.K.     Name                                Hours        Rate         Amount
             MPR      RACANELLI, MAJESTA                      0.30   $260.00          $78.00
                      P.

TOTAL FEES                                                                                       $1,846.00




                                                                                                   Page 2
